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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                   Holding a Criminal Term
                              Grand Jury Sworn in on May 3, 2018

 UNITED STATES OF AMERICA                            Case No.

                                                     Grand Jury Original

 JOHN WOODS,                                         YIOLATIONS:
                                                     Counts I through 3: l8 U.S.C. g 1343 (Wire
         Defendant.                                  Fraud)
                                                     Counts 4 through 7: l8 U,S.C. g 1311 (Mail
                                                     Fraud)
                                                     Count 8: 18 U.S.C. S 201(bxl) (Bribery)
                                                     Counts 9 and l0: l8 U.S.C. $ 1957 (Engaging
                                                     in Monetary Transactions in Proceeds from
                                                     Specified Unlawful Activitl )

                                                     Forfeiture Notice

                                          INDICTMENT

        The Grand Jury charges that:

        At all times material to this indictment:

                                         BACKGROUND

        1.     Company     A was a company that provided various         services to federal and state

govemment agencies. on May 14,2012, company A entered into a blanket purchase agreement

C'BPA) with the District of Columbia Department of Human         Resources    ("DCHR), Workforce
Development Administration      ('wDA"), to provide organizational skills training         courses to

various District of columbia Govemment ("D.c. Govemment") agencies.                on May 3, 2013,
company A entered into another BPA with DCHR to provide human resources (,,HR,') consulting,

along with organizational skills training courses.




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       2.      Defendant JOHN WOODS ("WOODS') was a resident of Sterling, Virginia, and

worked as a consultant and independent contractor for Company       A.   WOODS taught training

courses to D.C. Govemment employees under the BPAs and managed other contractors who taught

such courses. WOODS also served as Company         A's main point-of-contact with DCHR regarding

the BPAs. As that main point-of-contact, WOODS submitted invoices on Company A's behalf to

DCHR for payment under the BPAs.

       3.      The Center for Technology and Management, LLC ("CTM"), was a Limited

Liability Company created by WOODS in the District of Columbia in 2006. CTM held a business

bank account at SunTrust Bank to which WOODS was the sole signatory (the "CTM Account").

       4.      Latasha Moore ("Moore") was a D.C. Govemment employee. She worked for

DCHR from 2002 to 2018. ln 2012, Moore was promoted to the position of Resource Allocation

Analyst.

       5.      Moore was WOODS's main point-oi-contact at DCHR regarding the BPAs. As

part of her official duties at DCHR, Moore received and reviewed the invoices that Company A

submitted for payment under the BPAs. After reviewing those invoices, Moore recommended to

her supervisor whether the D.C. Govemment should pay those invoices, knowing that her

supervisor would rely on that recommendation. On some occasions, Moore would approve those

invoices for payment herself. Moore was also responsible for completing a yearly review of

Company A's performance under the BPAs, which DCHR relied upon in determining whether to

exercise its yearly option to extend those BPAs.

                             COUNTS ONE THROUGH SEVEN
                        (Scheme to Defraud
                                       - 18 U.S.C. S$ 1341, t343)
       6.      Beginning in or about April 2013, and continuing through in or about August 201 7,

in the District of Columbia and elsewhere, the defendant, JOHN WOODS devised and intended to


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devise a scheme and artifice to defraud Company A and the D.C. Govemment, including DCHR,

of money and property.
                         .



                              Purpose of the Scheme to Defraud

       7.     A purpose of the scheme to defraud was for WOODS to enrich himsell personally

by misappropriating money owed to Company A from the D.C. Govemment.

                         Manner and Means of the Scheme to Defraud

       8.     Among the manner and means by which WOODS canied out the scheme to defraud

were the following:

              a.      WOODS stole checks issued to Company A by taking them from the mail

delivered to Company A's office in the District of Columbia, endorsing them in his own name,

and depositing them into the CTM Account.

              b.      WOODS concealed his theft ol checks by misleading Company             A   into

believing that the D.C. Govemment was negligent in paying Company A for services rendered.

              c.      WOODS removed Company           A from the billing   process and deliberately

misinformed Company A that it could no longer provide training services under the BPAs because

Company A had lost its Certified Business Enterprise C'CBE') vendor status.

              d.      WOODS then usurped the BPAs by secretly performing work under the

BPAs himself, submitting invoices to the D.C. Govemment for that work purportedly on Company

A's behalf, obtaining D.C. Covemment checks wdtten to Company A for those services,             and

depositing those checks into the CTM Account.

              e.      WOODS paid bribes to Moore to be his eyes and ears at DCHR to protect

his ability to make money under the BPAs and the scheme to defraud.




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                 i      To conceal the scheme to defraud. WOODS led Company A to believe,

falsely, that the D.C. Govemment was negligent and had defaulted on payments it owed Company

A, while also, from time to time, depositing money into Company A's bank account that were

disguised as D.C. Govemment payments to protect against Company A escalating action at DCHR

to obtain payments Company A believed it was owed.

                         Acts in Furtherance of the Scheme to Defraud

    A.        WOODS's Theft of D.C. Government Checks Mailed to Company A in 2013

         9.      Between on or about April 10, 2013, and on or about February 11, 2015, WOODS

stole approximately five D.C. Govemment checks issued to Company A for work performed under

the BPAs. The checks totaled approximately      $2   14,910. The checks, which were mailed to

Company A's District of Columbia office, were made payable to Company A, and notto WOODS.

         10.     On or about December 23,2014, Company A's Operations Director ("Person 1")

sent WOODS an email asking him to look into why Company        A   had not received payment from

the D.C. Govemment for certain invoices that Company A submiued. WOODS did not disclose

to Company A or Person 1 that Company A's failure to receive those pa).rnents was not due to any

inaction on the D.C. Govemment's part, but rather was due to WOODS stealing those checks.

   B.         WOODS's Secret Take-Over of the BPAs in March 2015

         11.     Beginning in or about March 2015, WOODS went from occasionally stealing D.C.

Govemment checks issued to company A to usurping company A's role under the BpAs and

keeping the profits for himself.

         12.     To accomplish this, WOODS created fraudulent invoices in Company A's name

and submitted them to DCHR for payrnent. At the same time that         wooDs     submitted these

fraudulent invoices, he did not submit company       A's invoices to DCHR for payment. This


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eventually led Company   A to believe that the D.C. Govemment was negligent in paying       the

company's invoices, and Company A stopped seeking to perform work under the BPAs.

        13.    WOODS also accomplished this scheme by making numerous payments to Moore.

Specifically, the fraudulent invoices that WOODS submitted appeared materially different from

the real invoices that Company A submitted previously. For example, WOODS's invoices lacked

a cover letter signed by Company   A, which normally accompanied Company A's invoices, were

formatted dilferently from Company      A's   invoices, and utilized unusual invoice numbers.

WOODS's payments to Moore were intended to cause Moore not to question the unusual nature

of those invoices.

        14.    Before March 2015, WOODS provided Company          A with a monthly list of the

trainings provided to the D.C. Govemment for that month under the BPAs. Contractors providing

HR consulting services would then email their timesheets directly to Company A's receptionist,

who would give those timesheets to Person I . Person I would then create an invoice that WOODS

provided to Moore for payment from the D.C. Govemment. This process changed when, in or

about March 2015, WOODS began emailing the invoices directly to Moore, thereby removing

Person 1 and Company A from the billing process, thus concealing his fraudulent conduct from

Company A.

        15.    From in or about March 2015, through in or about August 2017, while WOODS

was usurping company A's role under the BPAs,     wooDS fraudulently deposited into the crM
Account approximately 27 checks issued by the D.c. Govemment to company            A   totaling

approximately $1,040,023.




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    C.      WOODS's Concealment of the Scheme to Defraud by Denositing Monev Into
            ComDany A's Bank Account Disguised as D.C. Government Pavments

         16.   WOODS not only concealed his activities by cutting Company A out from the

billing process, but WOODS also deposited money into Company A's bank account to make it

appe,r as if the D.C. Govemment was actually paying some of Company A's invoices.

         17.   Specifically, between on    or about     September   5, 2014, through on or    about

November 1, 2016, WOODS deposited approximately seven cashier's checks he purchased into

Company A's bank account at Industrial Bank totaling approximately $174,139.27.

         18.   To make it appear as if those checks were originating from the D.C. Government,

WOODS filled in the purchaser's name on several of those checks as being "DCHR," "CLD", or

"CWD." "CLD" and "CWD" referred to "Continuing Leaming Development" and "Continuing

Workforce Development," respectively, which were programs that Company A supported under

the BPAs.

         19.   To conceal his scheme further, WOODS never provided Company A with copies

ofthe actual cashier's checks that he deposited into Company A's bank account. Doing      so would

have revealed that the D.C. Govemment did not issue those checks but rather that WOODS

purchased those checks himself.

                        Use of Interstate Wires to Execute the Scheme

         20.   On or about the dates listed below, in the District of Columbia and elsewhere,

WOODS, for the purpose ofexecuting and attempting to execute the above-described scheme and

artifice to defraud, transmitted and caused to be transmitted by means of wire communication in

interstate commerce, the following writings, signals, and sounds; that is   wooDS   sent emails that

crossed interstate into and through the District olColumbia, as follows:




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 @!:                Date                        Wire Transmission:

 One                March 25. 2015              Email from WOODS to Moore attaching an invoice
                                                purportedly on Company A's behalf for $13,360.

 Two                April27,2015                Email from WOODS to Moore attaching an invoice
                                                purpo(edly on Company A's behalf for $24,070.

 Three              July 28,2015                Email from WOODS to Moore attaching three invoices
                                                purportedly on Company A's behalf for $14,462,
                                                $1 1,293, and $86"538. respectively.



         All in violation of Title   18, United States Code, Section 1343.

                               Use   of the Mails to Execute the Scheme

         21.     On or about the dates listed below, in the District of Columbia and elsewhere, for

the purpose of executing and attempting to execute the above-described scheme and artifice to

defraud, WOODS knowingly took and received from an authorized depository for mail the

following matter and things:

 Count:                    0n or About Date:          Descriotion

 Four                      August 14, 201   5         One check for $111,293 made payable to
                                                      Company A, mailed to Company A's office in
                                                      the District of Columbia.

 Five                      October 14,2015            One check for $125,000 made payable to
                                                      Company A, mailed to Company A's office in
                                                      the District of Columbia.

 Six                       October 7. 201 6           One check for $93,000 made payable to
                                                      Company A, mailed to Company A's office in
                                                      the District of Columbia.

 Seven                     June 16. 2017              One check for $65,000 made payable to
                                                      Company A, mailed to Company A's office in
                                                      the District of Columbia.


         All in violation of Title   18, United States Code, Section 1341



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                                           COUNT EIGHT
                                   (Bribery - l8 U.S.C. S 201(bxl))

         22.    The allegations set forth in paragraphs I through     l9 ofthis Indictment   are re-alleged

and incorporated by reference.

         23.    From in or about July 2014, through in or about August 2017, in the District of

Columbia and elsewhere, the defendant, JOHN WOODS, directly and indirectly, corruptly did

give, offer, and promise anything of value to a public official with intent to influence an official

act, and to induce such public   official to do and omit to do an act in violation ofthe public official's

lawful duty; that is, WOODS paid Moore money to influence official action and to induce

omissions in violation of lawful duty, which were intended to beneht Company A and WOODS.

    A.      Things of Value

         24.    Between on or about July       l, 2014, through   on or about August 10, 2017, WOODS

paid Moore approximately     $   140,537.02.

         25.    WOODS delivered some of those payments to Moore in person outside of her D.C.

Govemment office.

         26.    WOODS paid Moore by checks drawn on the CTM Account and instructed Moore

to cash them at a Sun Trust Bank branch in Southwest Washington, D.C., because the employees

at the branch there knew him.

    B.      Official Act s and Omissions of La wful Du h

         27.    WOODS paid Moore to influence official action and to induce Moore to act in

violation of her lawful duty, including the following:

                a.      During WOODS's management              of the BpAs, various      concems arose

regarding company      A's and wooDS's           performance      of the BpAs. For     example, certain

contractors often arrived late to trainings, ended trainings too early, or failed to appear for trainings


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altogether. Moore never reported any of those complaints to her supervisor, as she was required

to do, and instead alerted WOODS.

               b.     It was part oflMoore's official duties to perform yearly reviews of Company

A's performance under the BPAs. DCHR relied on Moore's reviews in determining whether to

exercise its yearly option to extend the BPAs with Company   A.   Despite knowing about various

concems regarding Company       A's and WOODS's        performance under the BPAs, Moore

nonetheless provided Company    A with reviews of "EXCELLENT," which         ensured that DCHR

renewed its BPAs with Company     A and protected WOODS's ability to eam money under the

BPAs.

               c.     During WOODS's management of the BPAs, WOODS often received

advance payments from DCHR before submitting invoices       for work performed. Some of those

advance payments were approximately $100,000. Moore would inform WOODS in August or

September oleach year regarding how much unspent money remained in DCHR's yearly budget,

so that WOODS could anticipate how much    of an advanced payment to expect. Moore would then

authorize the advanced payments to company A as part ofher official duties. Moore would not

alert other contractors regarding how much unspent money remained in DCHR's annual budget.

              d.      At WOODS'     request, Moore advised other D.C. Govemment officials,

including personnel at the office of Finance and Resource Management, to expedite the payment

of WOODS' invoices.

              e.      From on or about March 24,2015, through on or about June 21, 2017, as

described above, WOODS usurped the BPAs and submitted fraudulent invoices to Moore for

payment, misrepresenting that company A was actually submitting those invoices. Even though

the fraudulent invoices appeared materially different from company A's previous invoices,
                                                                                          Moore



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did not inquire why those invoices suddenly appeared different, nor did Moore raise her concems

regarding those invoices to her supervisor. Rather, Moore accepted those invoices, approved them

for payment, and then forwarded them to other D.C. Govemment officials to approve and process

for payment.

               f.     In or around la1s 2016 or early 2017, a HR consultant ("Person 2") that

performed work under the BPAs informed Moore that Person 2 received a paycheck from WOODS

written from the CTM Account. Moore knew that WOODS owned CTM and believed that it was

improper for WOODS to pay a contractor from the CTM Account. Upon leaming that WOODS

paid Person 2 from the CTM Account, Moore suspected that something nefarious was occurring

regarding WOODS's management of the BPAs and that WOODS may have been performing the

BPAs without Company A's knowledge or approval. Despite having those concems, Moore

remained silent and never inlormed her supervisor regarding this incident involving Person 2, nor

her concem that WOODS was potentially performing the BPAs without Company A's knowledge.


               C.     In or around 2017, Company A discovered that WOODS was perlbrming

the BPAs without Company A's knowledge and approval and was retaining the profits for himself.

Company A filed a Freedom of Information Act ("FOIA") request with the D.C. Govemment on

or about September 22,2017 , seeking, among other things, records of all payments made by the

D.C. Govemment to Company A from January 2015 to September 2017. DCHR tasked Moore

with compiling a response to Company A's FOIA request. Despite working on this request, Moore

remained silent and did not notiff her supervisors regarding her suspicions that WOODS was

performing work under the BPAs without Company A's knowledge.

       All in violation olTitle   18, United States Code, Section 201(bX1).




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                                   COUNTS NINE AND TEN
                    (Engaging in Monetary Transactions in Property Derived
                      from Specified Unlawful Activity - 18 U,S.C. $ 1957)

         28.    The allegations set forth in paragraphs I through 19 ofthis Indictment are re-alleged

and incorporated by reference.

        29.     On or about the dates listed below, in the District of Columbia and elsewhere, the

defendant, JOHN WOODS, did knowingly engage and attempt                        to   engage   in the monetary
transactions listed below by, through, and to a financial institution, and affecting interstate and

foreign commerce, in criminally derived property of a value greater than $10,000. that is, the

scheme to defraud set forth in Counts One through Seven above:

 Count                   On or About Date:           Dgs!@:
 Nine                    August 17, 201      5       One check  for $111,293 made payable to
                                                     Company A, which was deposited into the CTM
                                                     Account.
 Ten                     October 19,2015             One check for $'l 25,000 made payable to
                                                     Company A, which was deposited into the CTM
                                                     Account.

        All in violation olTitle   18, United States Code, Section 1957

                          CRIMINAL FORPE, ITURE ALLEGATION

        1.      Upon conviction      of the offense alleged in          Counts One through Ten       of   this

Indictment, the defendant shall forfeit to the United states any property, real or personal, which

constitutes or is derived from proceeds traceable to those offenses, pursuant to Title 18. United

states code, Section 981(a)(1)(A),    (c),   and (D), and   ritte   28, United States code, Section 2461(c).

The United States   will also   seek a forfeiture money judgment against the defendant equal to the

value ofany property, real or personal, which constitutes or is derived from proceeds traceable to

this offense.




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       2.      Ifany ofthe property described above as being subject to forfeiture,      as a result   of

any act or omission ofthe defendant:

               a.   cannot be located upon the exercise ofdue diligence;

               b.   has been transferred or sold to, or deposited with, a third party;

               c.   has been placed beyond the   jurisdiction of the Cou(;

               d.   has been substantially diminished in value; or

               e.   has been commingled    with other property that cannot be divided without

                    difficulty;

the defendant shall forfeit to the United States any other property ofthe defendant, up to the value

ofthe property described above, pursuant to Title 2l , United States Code, Section 853(p)

(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 981(a)(1)(A),(C), and
(D), Title 28, United States Code, Section 2461(c), and Title 21, United States Code, Section
8s3(p)).

                                                      A TRUE BILL




                                                      FOREPERSON




&si. E-L:,fr',
ATTORNEY FOR THE UNITED STATES IN
                                    '1.

AND FOR THE DISTRICT OF COLUMBIA




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